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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES,

                        v.
                                                       Case No. 1:21-cr-00040-4 (TNM)
 CHRISTOPHER JOSEPH QUAGLIN,


                        Defendant.


                                             ORDER

       Christopher Joseph Quaglin is detained pre-trial for his alleged actions at the U.S. Capitol

on January 6. He has been shuffled to numerous jails for various reasons, including disciplinary

infractions. Quaglin suffers from a gluten allergy that requires a specific diet while he is

detained. Before the Court is Quaglin’s Third Motion for Release, ECF No. 519, and his

supplements to that motion, ECF Nos. 531, 536, 540, 547, 548. For the reasons stated on the

record at the March 14, 2023, motions hearing, the Court hereby ORDERS the U.S. Marshals

Service to verify that Quaglin receives a gluten-free diet while detained pre-trial. The U.S.

Attorney’s Office shall confirm that the Marshals Service receives this Order.

       SO ORDERED.                                                             2023.03.15
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Dated: March 15, 2023                                         TREVOR N. McFADDEN, U.S.D.J.




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